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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     )               No: 21-CR-25
                                             )
               v.                            )               JUDGE MOSS
                                             )
JORDEN MINK                                  )               ELECTRONICALLY FILED

                                     ORDER OF COURT

       AND NOW, this ______ day of _______________, 2021, upon consideration of

Defendant Jorden Mink’s Motion for an Order of Court Directing Central Treatment Facility to

Allow Defendant to Review Rule 16 Materials, it is ORDERED, ADJUDGED and DECREED

that Mr. Mink’s Motion is GRANTED.

       WHEREFORE, it is ORDERED, ADJUDGED and DECREED that the District of

Columbia Department of Corrections Central Treatment Facility to allow Mr. Mink to review the

Rule 16 discovery materials forthwith, or in any event within seven (7) days of this Order, and

that Mr. Mink be allowed at least 40 hours over a reasonable period of time to conduct the

review of his Rule 16 discovery materials.

                                             By the Court:



                                             __________________________________J.
